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                            UNITED STATES DISTRICT COURT
                         F0R THE DISTRICT OF MASSACHUSETTS

__________________________________________
JOHN F. HUGHES,                            )
                                           )
      Plaintiff,                           )
                                           )                    Civil Action No. 1:23-cv-10361-AK
v.                                         )
                                           )
BAYSTATE FINANCIAL SERVICES, LLC,          )
IAFF FINANCIAL CORPORATION,                )
KURT M. BECKER, DAVID C. PORTER,           )
                                           )
      Defendants                           )
__________________________________________)

    MEMORANDUM IN SUPPORT OF DEFENDANT KURT M. BECKER’S MOTION TO
             DISMISS FOR LACK OF PERSONAL JURISDICTION

        Plaintiff, a resident of the state of Maine, has filed a Complaint in this district that

includes one claim against defendant Kurt Becker (“Mr. Becker”), a resident of the state of

Missouri. That claim, which appears in the “Third Cause of Action,” is for tortious interference

with advantageous business relations – a Massachusetts state-law tort that purportedly arises out

of Plaintiff’s brief employment with co-defendant IAFF Financial Corporation, a Delaware

corporation with a principal place of business in Washington, D.C.

        It is undisputed that (1) Mr. Becker does not live, work, own property, or pay taxes in

Massachusetts, and (2) none of the alleged conduct related to this claim occurred in

Massachusetts. To be clear, Plaintiff’s claim against Mr. Becker is completely baseless as a

matter of fact.1 But this Court need not and should not reach the merits of this claim, because

Plaintiff’s pleadings on their face establish that the Court does not have personal jurisdiction


1
 As the evidence will show, neither Mr. Becker nor the other defendants in this case engaged in
any wrongful conduct whatsoever.
                                                   1
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over Mr. Becker as a matter of both statutory and constitutional law. Rather and as more fully

set forth below, Plaintiff’s Third Cause of Action should be dismissed under Fed. R. Civ. P.

12(b)(2) because the Court lacks personal jurisdiction over Mr. Becker.

                                     BACKGROUND FACTS

         Plaintiff filed the instant lawsuit on February 17, 2023 against four defendants: two

corporations, Baystate Financial Services, LLC (“Baystate”) and IAFF Financial Corporation

(“IAFF-FC”), and two individuals, David C. Porter (“Mr. Porter”) and Mr. Becker. See Compl.

(ECF Docket No. 1) at ¶¶ 3-6.2 Defendant IAFF-FC is Plaintiff’s former employer and Mr.

Becker was Plaintiff’s supervisor at IAFF-FC. See Declaration of Kurt M. Becker (“Becker

Decl.”) at ¶ 6, attached as Exhibit A.

         The only claim against Mr. Becker is set forth in Plaintiff’s Third Cause of Action for

“tortious interference with advantageous employment relations.” 3 Plaintiff clams that he had an

“advantageous employment relationship with the IAFF-FC,” and that Mr. Becker was aware of

and “purposefully and maliciously interfered with” that relationship and “wrongfully induced the

IAFF-FC to terminate Plaintiff’s employment for his [Mr. Becker’s] own financial gain.”

Compl. at ¶¶ 64-67.4




2
    Mr. Porter works for defendant Baystate, and Mr. Becker works for defendant IAFF-FC. Id.
3
 Four of the five causes of action raised in the Complaint are state law claims. Mr. Becker is the
only defendant named in the third cause of action.
4
 Although not relevant to this Motion, the evidence will show that Plaintiff misrepresented his
credentials and did not possess the training or experience to perform the job for which he was
hired. Plaintiff’s poor job performance caused the IAFF-FC to place him on a performance
improvement plan within less than a year, and to terminate him seven months after that. See
Becker Decl. at ¶ 7.
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       Plaintiff “is, and was at all relevant times, a citizen of the State of Maine.” Id. ¶ 2. Mr.

Becker “is, and was at all relevant times, a citizen of the State of Missouri” who works at IAFF-

FC’s principal place of business, located at “1750 New York Avenue NW, Washington D.C.” Id.

at ¶¶ 4-5. Every decision and/or action relating to Plaintiff’s employment was made or occurred

in Washington D.C. and received by Plaintiff in Washington D.C. See Compl. at ¶¶ 38, 47;

Becker Decl. at ¶ 9.

       Plaintiff admits that his conduct “did not occur primarily and substantially in

Massachusetts.” See Plaintiff’s Answer to Counterclaims (ECF Docket No. 8) at ¶ 45. He

performed his job duties from his home in Alfred, Maine, with the exception of three trips to

Washington, D.C. to attend meetings connected with his employment. See Becker Decl. at ¶ 7.

On the first trip, in August 2021, Plaintiff traveled to Washington, D.C. and made a presentation

to the IAFF-FC Board of Directors, after which he received an offer of employment with IAFF-

FC. Id. Plaintiff traveled to Washington, D.C. for a second time in May 2022 to discuss the

many struggles he was having performing his job duties and was placed on a performance

improvement plan. Id. Plaintiff traveled to Washington, D.C. again in January 2023, at which

time he was offered a severance package, which he chose to reject and was subsequently

terminated. Id. Mr. Becker, in turn, performed his job duties primarily from his office in

Washington, D.C. Id. at ¶¶ 4, 9.

       Plaintiff did not travel to Massachusetts at any point in time during his employment with

IAFF-FC, and Mr. Becker traveled to Massachusetts only once to attend a conference that was

unrelated to Plaintiff’s employment. Id. at ¶¶ 7-8.




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                                          ARGUMENT

        On a motion to dismiss for lack of personal jurisdiction, the plaintiff bears “the burden of

demonstrating that jurisdiction is 1) statutorily authorized and 2) consistent with the Due Process

Clause of the United States Constitution.” Carp v. XL Ins. et al, 754 F. Supp. 2d 230, 232 (D.

Mass. 2010) (citing Astro-Med, Inc. v. Nihon Kohden Am., Inc., 591 F.3d 1, 9 (1st Cir. 2009)).

Here, the Complaint does not assert any statutory basis for exercising personal jurisdiction over

Mr. Becker. As for the constitutional basis, the Complaint merely lumps Mr. Becker in with his

employer and co-defendant IAFF-FC. See Compl. at ¶ 9 (asserting personal jurisdiction exists

because “Defendants IAFF-FC and Becker . . . conduct significant business in this District and

have continuous and systemic contacts with this District”).

       This conclusory allegation does not satisfy Plaintiff’s burden. First, the Massachusetts

long arm statute is narrower than the federal Due Process Clause; it permits the exercise of

personal jurisdiction over a foreign defendant only for causes of action “arising from” specific

types of contacts with the Commonwealth. See SCVNGR, Inc. v. PUNCHH, Inc., 478 Mass. 324,

328 (2017) (discussing Mass. Gen. L. c. 223A, § 3). Here, the sole claim asserted against Mr.

Becker is a common law tort arising out of employment-related decisions Mr. Becker

participated in as Plaintiff’s supervisor during Plaintiff’s brief employment with the IAFF-FC.

None of those decisions touched Massachusetts: they were made in and delivered to Plaintiff

exclusively from Washington, D.C.

       Second, for purposes of the constitutional analysis, Mr. Becker cannot simply be lumped

in with his employer; he has been personally named as a defendant, and jurisdiction must

therefore exist over him personally. The Complaint fails to allege any facts supporting a

conclusion that Mr. Becker personally conducts significant (or any) business in Massachusetts, or



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that he has continuous and systematic contacts with Massachusetts – likely because such facts do

not exist. To the contrary, it is undisputed that Mr. Becker resides in Missouri and works at

IAFF-FC’s offices in Washington, D.C. Compl. at ¶ 5. He does not personally own property,

pay taxes, conduct business, or otherwise have any connection with Massachusetts, and has only

physically been present in this Commonwealth three times in his life. Becker Decl. at ¶¶ 1, 8-9.

        For the following reasons, the Court should dismiss Plaintiff’s third cause of action

because Plaintiff cannot carry his burden of establishing personal jurisdiction over Mr. Becker in

this District.

        A. The Complaint Does Not Establish Personal Jurisdiction Over Mr. Becker Under
           the Massachusetts Long-Arm Statute.

        The Massachusetts long arm statute, codified at Mass. Gen. L. c. 223A, § 3, “imposes

specific constraints on the exercise of personal jurisdiction that are not coextensive with the

parameters of due process,” and thus “a determination under the long-arm statute is to precede

consideration of the constitutional question.” SCVNGR, Inc., 478 Mass. at 325 (citations

omitted).

        The Complaint does not identify which subsection of the long-arm statute Plaintiff relies

upon to justify this Court’s jurisdiction, but nonetheless names Mr. Becker as a defendant in the

third cause of action for “tortious interference with advantageous employment relations,” a

common law tort under Massachusetts law. See Compl. at ¶¶ 63-68. To prove that tort, Plaintiff

must prove in relevant part that Mr. Becker (1) was aware of Plaintiff’s employment relationship

with IAFF-FC; (2) “knowingly induced a breaking of the relationship;” and (3) did so

intentionally via actions that were “improper in motive or means.” See Jakuttis v. Town of

Dracut, Mass., ___ F. Supp. 3d ___, 2023 WL 1993756, *23 (D. Mass. Feb. 14, 2023). Because

Mr. Becker was Plaintiff’s supervisor throughout the relevant period, Plaintiff must also prove

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that Mr. Becker acted with “actual malice,” defined as a “spiteful, malignant purpose unrelated to

a legitimate corporate interest.” Id. (citations omitted).

       Setting aside the dubious merits of Plaintiff’s claim against Mr. Becker, the facts essential

to its resolution clearly occurred exclusively in Washington, D.C. That is where all decisions

concerning Plaintiff’s employment relationship with IAFF-FC were made. See Compl. at ¶¶ 4-5,

38, 47; Becker Decl. at ¶ 9. It is also where Mr. Becker performed his duties as Plaintiff’s

supervisor, which included communicating and meeting with Plaintiff; observing and evaluating

the quality of Plaintiff’s work; communicating with and receiving feedback from others within

IAFF-FC and third parties about the quality of Plaintiff’s work; and participating in internal

IAFF-FC meetings to discuss employment decisions relating to Plaintiff. See Becker Decl. at ¶¶

4-5. Washington D.C. is also where Plaintiff was when he, first, was placed on a performance

improvement plan after less than ten months on the job in May 2022 and, second, was offered a

severance package and ultimately terminated seven months after that in January 2023. See

Compl. at ¶¶ 38, 47; Becker Decl. at ¶¶ 7, 9.

       The Massachusetts’ long-arm statute does not permit Mr. Becker to be subject to suit in

this district for a purported tort that took place in Washington D.C. Cf. Mass. Gen. L. c. 223A, §

3(c) (personal jurisdiction exists over foreign defendants for “causing tortious injury by an act or

omission in this commonwealth”) (emphasis added). The one exception might be if Plaintiff had

been injured in the Commonwealth, see id. at § 3(d), but he clearly was not.5 Plaintiff resides,

not in Massachusetts, but in Alfred, Maine, which is where he lived throughout his brief

employment with IAFF-FC. Compl at ¶ 2, Becker Decl. at ¶ 7. Plaintiff has already admitted



5
  As discussed in Part B, infra., Plaintiff cannot satisfy the other requirements of § 3(d) either,
because Mr. Becker does not have regular or persistent contacts with, or derive any revenue
from, this jurisdiction. See Compl. at ¶ 1.
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that his conduct relevant to this lawsuit “did not occur primarily and substantially in

Massachusetts.” See Plaintiff’s Answer to Counterclaims (ECF Docket No. 8) at ¶ 45. The

Court should thus dismiss Mr. Becker as a defendant because Plaintiff cannot carry his burden of

establishing that the Massachusetts long-arm statute authorizes jurisdiction over Mr. Becker in

these circumstances.

        B. Due Process Does Not Permit the Exercise of Personal Jurisdiction Over Mr.
           Becker.

        Plaintiff also fails the constitutional portion of his burden of proof. “Due process

requires that [a] defendant[] have ‘minimum contacts’ with the forum state such that the

‘maintenance of the suit does not offend traditional notions of fair play and substantial justice.’”

Carp, 754 F. Supp. 2d at 232 (quoting Int’l Shoe Co. v. Washington, 326 U.S. 310, 316 (1945)).

        The Complaint alleges that jurisdiction over Mr. Becker is proper because “IAFF-FC and

Mr. Becker . . . conduct significant business in this District and have continuous and systemic

contacts with this District.” Id. at ¶ 9. This language parrots the legal test required to find

general jurisdiction over a defendant. See Carp, 754 F. Supp. 2d at 232 (“General jurisdiction

exists when the defendant has engaged in ‘continuous and systematic activity,’ unrelated to the

suit, in the forum state”). Yet the Complaint does not contain any factual allegations supporting

this assertion as it relates to Mr. Becker.

        Instead, the Complaint attempts to lump Mr. Becker in with his employer for purposes of

the jurisdictional analysis. But “jurisdiction over the individual officers of a corporation may not

be based merely on jurisdiction over the corporation. There must be an independent basis for

jurisdiction over” these individuals. Id. (quoting Escude Cruz v. Ortho Pharm. Corp., 619 F.2d

902, 906 (1st Cir. 1980)). Specifically, the “Court must inquire whether, under general principles




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of agency law, the officer or employee derived personal benefit from his/her contacts in

Massachusetts and/or acted beyond the scope of his/her employment.” Id. at 233.

       The Complaint alleges that Mr. Becker communicated at various times with Baystate

Financial Services, LLC, which is a Massachusetts-based company, but not that Mr. Becker

derived personal benefit from those communications or that the communications were beyond

the scope of his work for the IAFF-FC. To the contrary, any communications between Mr.

Becker and Baystate clearly fell within the scope of Mr. Becker’s employment as Chief

Operating Officer of IAFF-FC and Plaintiff’s direct supervisor. The Complaint does not allege

that Mr. Becker had any contacts with Massachusetts in his personal capacity, because he did not.

At all relevant times, Mr. Becker resided in Missouri and worked in Washington, D.C., id. at ¶ 5,

and did not personally conduct business, advertise, pay taxes, or own property in Massachusetts,

or derive any income or other form of a personal benefit from Massachusetts. See Becker Decl.

at ¶ 1. Simply put. contrary to Plaintiff’s conclusory jurisdictional assertion, Mr. Becker

personally conducts zero business in and has zero contacts with this District. Id.

       Even if it were proper to look to conduct falling within the scope of Mr. Becker’s

employment, Plaintiff has still failed to allege the types of “continuous and systemic contacts”

that would justify a finding of general jurisdiction. Indeed, the contacts alleged in the Complaint

are not even sufficient to establish specific jurisdiction for purposes of the claim against Mr.

Becker. “Specific jurisdiction exists where the plaintiff’s cause of action arises from or relates to

the defendant’s contacts with the forum state.” Carp, 754 F. Supp. 2d at 232. Whatever

purported communications took place between Mr. Becker and Baystate, those communications

do not constitute either the cause in fact or the legal cause of Plaintiff’s alleged harm, which is

the dispositive factor for deciding whether a claim “relates to” a defendant’s contacts with the



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forum. See Interface Group-Mass., LLC v. Rosen, 256 F. Supp. 2d 103, 107 (D. Mass. 2003). In

Interface, the court found no personal jurisdiction in a tortious interference case notwithstanding

that the defendant, who lived in California, had made “approximately half-a-dozen business

trips” to Massachusetts (including to the property at issue in that case) and “a number of

telephone calls and messages” to the plaintiff’s general counsel in Massachusetts, because those

contacts did not constitute the “interference” of which the plaintiff complained. Id. at 106, 107-

08. As Interface explains:

       The main thrust of the plaintiff’s cause of action is not Rosen’s Massachusetts business
       trips or telephone contacts, but rather the very act (or acts) of “interference” that the
       plaintiff claims Rosen committed. . . . If Rosen did indeed “interfere” with the subtenancy
       contract between Key3 and Interface, the evidence produced by plaintiff is insufficient to
       show that he did so either by acting in Massachusetts or by means of any of his specific
       individual contacts with the Commonwealth. Rather, the evidence indicates that any
       actions Rosen may have taken concerning Key3’s decision to leave the offices at 300
       First Avenue in Needham, Massachusetts, took place either in California or New York
       and not in Massachusetts or by means of his Massachusetts business trips or telephone
       contacts.

Id. at 108 (emphases in original). The same is true here. As discussed in Part A, supra.,

Plaintiff’s claim against Mr. Becker involves actions Mr. Becker purportedly took with regard to

Plaintiff’s employment with IAFF-FC. All of those actions were taken exclusively in

Washington, D.C.6

       Nor is there any basis for a finding that Mr. Becker purposefully availed himself of this

jurisdiction such that he could have reasonably foreseen he would be subject to suit here by



6
  Although Plaintiff alleges – with zero basis in fact – that Baystate tried to convince Mr. Becker
to fire Plaintiff, that is not enough to establish personal jurisdiction over Mr. Becker given that
Mr. Becker took no action concerning Plaintiff’s employment in Massachusetts. Instead, the
undisputed (and undisputable) facts are that Mr. Becker received information concerning
Plaintiff’s performance from multiple sources while performing his job as Plaintiff’s supervisor
in his offices in Washington, D.C., and that every employment decision concerning Plaintiff was
made and delivered to Plaintiff in Washington, D.C. See Becker Decl. at ¶¶ 4-7, 9; accord
Interface, 256 F. Supp. 2d at 107-108.
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Plaintiff. Baystate is the only connection to Massachusetts at issue in this lawsuit, and Plaintiff

alleges it was he who first reached out to that company, not Mr. Becker. See Compl. ¶¶ 25-26.

In this case, where the operative facts relating to Plaintiff’s claim against Mr. Becker all took

place in Washington, D.C. and where Plaintiff has already admitted that he has no material

connection to Massachusetts related to this lawsuit, see ECF No. 8 at ¶ 45, it would be

unreasonable as a matter of Due Process to require Mr. Becker to appear in this jurisdiction to

defend himself.

                                          CONCLUSION

       For the foregoing reason, the Court should grant the instant motion and dismiss the claim

against Mr. Becker under Fed. R. Civ. P. 12(b)(2) for lack of personal jurisdiction.

                                              Respectfully submitted,

                                              _/s/ William Kettlewell_____________________
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Dated: April 5, 2023




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                                CERTIFICATE OF SERVICE

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                                             William H. Kettlewell (BBO # 270320)




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